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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
JOSH HAWLEY FOR SENATE,                            )
                                                   )
               Plaintiff,                          )      Civ. No. 22-1275 (EGS)
                                                   )
               v.                                  )
                                                   )
FEDERAL ELECTION COMMISSION,                       )      NOTICE
                                                   )
               Defendant.                          )
                                                   )

                     FEDERAL ELECTION COMMISSION’S NOTICE
                         OF SUBSEQUENT DEVELOPMENTS

       The Federal Election Commission (“FEC” or “Commission”) hereby provides notice of

subsequent factual developments. The composition of the Commission recently changed, with

Dara Lindenbaum sworn in a Commissioner on August 2, 2022. FEC, Dara Lindenbaum Sworn

In As Commissioner (Aug. 2, 2022), https://www.fec.gov/updates/dara-lindenbaum-sworn-in-as-

commissioner/. Soon thereafter, on August 29, 2022, there was a successful vote to close the file

in FEC Matters Under Review (“MURs”) 7427, 7497, 7524, and 7553, administrative

enforcement matters as to which plaintiff Josh Hawley for Senate has sought records from the

Commission pursuant to the Freedom of Information Act (“FOIA”). Plaintiff is a respondent in

one of these matters: MUR 7524. As a result of these file closures, certain information from the

MURs that was the subject of previous exemption claims, including Commissioner vote

certifications and statements of reasons, will be released, and plaintiff will shortly have the

central information it has sought here. These were the four MURs cited in the complaint in the

private action filed against plaintiff that plaintiff has described as the reason for the FOIA
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request at issue in this case. See Compl. ¶¶ 25-26; Complaint for Declaratory and Injunctive

Relief ¶¶ 118-26, Giffords v. NRA, et al., Civ. No. 21-2887 (D.D.C. Nov. 2, 2021).

       The FEC Commissioners voted 4-1 (with one abstention) to close the files in MURs

7427, 7497, 7524, and 7553. Respondents in these proceedings have been notified of this action,

including plaintiff as to MUR 7524. As a result, the Commission will place on the public record

categories of documents integral to its decision-making process in the MURs, including

certifications of Commission votes and Commissioner statements of reasons, in accord with the

agency’s disclosure policy. See FEC, Disclosure of Certain Documents in Enforcement and

Other Matters, 81 Fed. Reg. 50,702, 50,703 (Aug. 2, 2016). The Commission will do so as soon

as practicable and generally endeavors to do so within 30 days. Id.

       Because the release of the file materials for MURs 7427, 7497, 7524, and 7553 will

provide plaintiff with the central information sought in this FOIA litigation, the Commission will

confer with plaintiff to determine whether its claims may be dismissed, and the extent to which

there is a need for further briefing, including the Commission’s motion for summary judgment

currently due on September 23, 2022. The Commission will then further update the Court.

                                     Respectfully submitted,

Lisa J. Stevenson (D.C. Bar No. 457628)          Harry J. Summers
Acting General Counsel                           Assistant General Counsel
lstevenson@fec.gov                               hsummers@fec.gov

Kevin Deeley                                        /s/ Greg J. Mueller
Associate General Counsel                        Greg J. Mueller (D.C. Bar No. 462840)
kdeeley@fec.gov                                  Attorney
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September 1, 2022                                FEDERAL ELECTION COMMISSION
                                                 1050 First Street NE
                                                 Washington, DC 20463
                                                 (202) 694-1650



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                               CERTIFICATE OF SERVICE
       I hereby certify that on September 1, 2022, I served the foregoing pursuant to Fed. R.

Civ. P. 5(b)(2)(E) on counsel of record, as a registered ECF user, through the Court’s ECF

system.

          /s/ Greg J. Mueller
       Greg J. Mueller (D.C. Bar No. 462840)
       Attorney
       gmueller@fec.gov
        Case
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
NATIONAL RIFLE ASSOCIATION OF                   )
AMERICA POLITICAL VICTORY FUND,                 )
                                                )       Civ. No. 22-1017
and                                             )
                                                )
NATIONAL RIFLE ASSOCIATION OF                   )
AMERICA,                                        )
                                                )
              Plaintiffs,                       )
                                                )
              v.                                )
                                                )       NOTICE
FEDERAL ELECTION COMMISSION,                    )
                                                )
              Defendant.                        )
                                                )

                    FEDERAL ELECTION COMMISSION’S NOTICE
                        OF SUBSEQUENT DEVELOPMENTS

       The Federal Election Commission (“FEC” or “Commission”) hereby provides notice of

subsequent factual developments. The composition of the Commission recently changed, with

Dara Lindenbaum sworn in a Commissioner on August 2, 2022. FEC, Dara Lindenbaum Sworn

In As Commissioner (Aug. 2, 2022), https://www.fec.gov/updates/dara-lindenbaum-sworn-in-as-

commissioner/. Soon thereafter, on August 29, 2022, there was a successful vote to close the file

in FEC Matters Under Review (“MURs”) 7427, 7497, 7524, and 7553, administrative

enforcement matters in which plaintiff National Rifle Association of America Political Victory

Fund (“NRA-PVF”) is a respondent, and as to which it has sought records from the Commission

pursuant to the Freedom of Information Act (“FOIA”). As a result of these file closures, certain

information from the MURs that was the subject of previous exemption claims, including formal

Office of General Counsel recommendations, Commissioner vote certifications, and statements
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of reasons, will be released, and plaintiffs will shortly have the central information they have

sought in this case.

       The FEC Commissioners voted 4-1 (with one abstention) to close the files in MURs

7427, 7497, 7524, and 7553. NRA-PVF, a respondent in these MURs and a plaintiff in this case,

has been notified of this action. As a result, the Commission will place on the public record

categories of documents integral to its decision-making process in the MUR, including

certifications of Commission votes and Commissioner statements of reasons, in accord with the

agency’s disclosure policy. See FEC, Disclosure of Certain Documents in Enforcement and

Other Matters, 81 Fed. Reg. 50,702, 50,703 (Aug. 2, 2016). The Commission will do so as soon

as practicable and generally endeavors to do so within 30 days. Id.

       Because the release of the file materials for MURs 7427, 7497, 7524, and 7553 will

provide plaintiffs with the central information sought in this FOIA litigation, the Commission

will confer with plaintiffs to determine whether their claims may be dismissed at this point or

merely narrowed, and the extent to which there is a need for further briefing, including the

Commission’s motion for summary judgment currently due on September 14, 2022. The

Commission will then further update the Court.

                                      Respectfully submitted,

 Lisa J. Stevenson (D.C. Bar No. 457628)           /s/ Greg J. Mueller
 Acting General Counsel                            Greg J. Mueller (D.C. Bar. No. 462840)
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 Assistant General Counsel                         (202) 694-1650
 hsummers@fec.gov
                                                   September 1, 2022
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                                CERTIFICATE OF SERVICE


        I hereby certify that on September 1, 2022, I served the foregoing pursuant to Fed. R.
Civ. P. 5(b)(2)(E) on counsel of record, as a registered ECF user, through the Court’s ECF
system.

        /s/ Greg J. Mueller
       Greg J. Mueller (D.C. Bar. No. 462840)
       Attorney
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